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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                 )
                                         )
                                         )
v.                                       )
                                         )       Criminal No. 1:22-cr-00354-RCL-1 and 2
RICHARD SLAUGHTER, and
CADEN GOTTFRIED,                         )
                                         )
                    Defendant            )
                                         )

                         Defendant.

      COMES NOW, the Defendants Slaughter and Gottfried, by and through

undersigned counsel, with this Motion to Dismiss all charges in this case (1) on

First Amendment grounds, and (2) because the charging instrument and documents

in this case fail to state a valid federal criminal case, and thus fail to invoke the

jurisdiction of this Court.

THE DEFENDANTS’ ALLEGED CONDUCT ON JANUARY 6 WAS
POLITICAL EXPRESSION, ADVOCACY, AND PETITIONING, PROTECTED
BY THE FIRST AMENDMENT.
      In Edwards v. South Carolina, 372 U.S. 229, 235 (1963), the Supreme Court

held that state capitol grounds are traditional venues for “exercise of . . . basic

constitutional rights in their most pristine and classic form.” Although the specific

time, place, and manner of advocacy, protest, assembly and communication of

ideas may be restricted in some circumstances, the conduct alleged by the State in

this case falls entirely within protections of the State and federal constitutions.


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      The First Amendment would mean nothing if any government authority

could decree that a dissenter or government critic is banned from public buildings

and thereafter punish the dissenter for trespassing whenever the dissenter

approached. See Johnson v. Perry, 140 F. Supp. 3d 222 (D. Conn. 2015) (public

school’s order excluding parent from school events interfered with parent's

exercise of right to make decisions about the care, custody, and control of his child

and did not provide him with any means to appeal the order); Cyr v. Addison

Rutland Supervisory Union, 955 F. Supp. 2d 290, 297 (D. Vt. 2013) (public

school's order that excluded parent from school board meetings interfered with

parent's exercise of speech rights and did not provide parent with any means to

challenge the order); Dunkel v. Elkins, 325 F. Supp. 1235, 1246-47 (D. Md. 1971)

(public university's order that excluded visitor from campus interfered with

visitor's exercise of speech rights and provided no means to appeal); Watson v. Bd.

of Regents of Univ. of Colorado, 182 Colo. 307, 512 P.2d 1162, 1165 (Colo. 1973)

(public university's order that banned nonstudent from campus interfered with the

individual's exercise of First Amendment rights and provided no method for

appeal).


Observing political and legislative meetings and seeking redress of grievances
is protected by the First Amendment.

      The rights to assemble peaceably and to petition for a redress of grievances

are among the most precious of the liberties safeguarded by the Bill of Rights.

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These rights are intimately connected with the other First Amendment rights of

free speech and free press. “The First Amendment would, however, be a hollow

promise if it left government free to destroy or erode its guarantees by indirect

restraints so long as no law is passed that prohibits free speech, press, petition, or

assembly as such.” United Mine Workers of Am., Dist. 12 v. Illinois State Bar

Ass'n, 389 U.S. 217, 222 (1967). “We have therefore repeatedly held that laws

which actually affect the exercise of these vital rights cannot be sustained merely

because they were enacted for the purpose of dealing with some evil within the

State's legislative competence, or even because the laws do in fact provide a

helpful means of dealing with such an evil.” Id.

      On January 6, Defendants and their many codefendants in other cases were

part of a protest movement whose aim was to keep our elections honest, and to

express themselves and their political positions against the election improprieties

which are well documented. The United States cannot masquerade its crackdown

on advocacy as enforcement of trespass or obstruction laws.

        In CPR for Skid Row v. City of L.A., 779 F.3d 1098 (9th Cir. 2015), the U.S.

Ninth Circuit Court of Appeals found that a California statute which criminalized

disruption of political meetings by “threats, intimidations, or unlawful violence”

was unconstitutional as applied to a group's protest of a meeting of public officials

and members of the public to discuss conditions in a neighborhood.

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      Judge Reinhardt, concurring, said that the statute was unconstitutional both

as applied and on its face, because the First Amendment plainly protects some

conduct which intimidates or disrupts political meetings in many circumstances.

      It is significant that the facts of disruption in CPR for Skid Row were far

more egregious than those alleged here. The group’s members were “chanting

loudly in protest of an organized walk by public officials and others through Los

Angeles' Skid Row.” “They also banged on drums,” in some cases within one foot

of the officials during the Walk.

      Judge Reinhardt pointed to numerous cases where the First Amendment

protected extravagant demonstrations amidst legislative or official government

hearings or meetings, such as In re Kay, 1 Cal. 3d 930, 936, 83 Cal. Rptr. 686, 464

P.2d 142 (1970) (rhythmic clapping during a congressman's speech), McMahon v.

Albany Unified Sch. Dist., 104 Cal. App. 4th 1275, 1280—81, 129 Cal. Rptr. 2d

184 (Cal. Ct. App. 2002) (dumping gallons of garbage on the floor during a school

board meeting as part of a speech about the problem of litter in the area of the high

school), Saraceni v. City of Roseville, No. C041085, 2003 Cal. App. Unpub.

LEXIS 5692, 2003 WL 21363458, at *2 (Cal. Ct. App. June 13, 2003) (attempting

to address the city council and city attorney at a city council meeting after the

public comment period had ended), Norse v. City of Santa Cruz, 629 F.3d 966, 970

(9th Cir. 2010) (en banc) (giving a silent Nazi salute and whispering to another

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meeting attendee in city council meetings), and Sanchez v. City of Los Angeles, No.

CV 07—5132 GHK (JC), 2011 U.S. Dist. LEXIS 150627, 2011 WL 6951822, at

*2 (C.D. Cal. Oct. 31, 2011) (attending a city council meeting with a pillow case,

attached to a shirt, that read “CRA Destroys Communities”).


      Significantly, the alleged conduct of the defendant in this case—even if

true—was far less disruptive than the conduct recognized as constitutionally

protected in the cases listed above. Defendants did nothing to prevent Congress

from concluding, discussing, or voting on any bill or proposal.


Denial of due process.


      This prosecution is also unconstitutional because Defendants were denied

due process of law because Defendants were given no path to challenge the

political decree in this case. See State v. Koenig, 238 Ore. App. 297, 242 P.3d 649

(Or. Ct. App. 2010), holding an exclusion order unlawful where a defendant was

arrested for trespassing upon entering a county building after an order excluding

him from the building because the defendant was not provided with any process by

which to challenge it. Id. at 655. That is, there were no procedures to "safeguard

his liberty interest against the risk of erroneous deprivation.” Id. at 657.


      Likewise, in State v. Green, 157 Wn. App. 833, 239 P.3d 1130 (Wash. Ct.

App. 2010) the Washington court reversed the trespass conviction of a parent who

had violated a public school's order excluding the parent from her child's school.
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The court found the conviction unlawful because the exclusion order infringed the

parent's statutory right to observe her child's school activities and did not provide

any means for an appeal from the order. Id. at 1137.

      A person may not be convicted of trespass for failing to comply with an

exclusion order from a public agency that violates that person's right to due

process. Cf. State v. Bishop, 146 Idaho 804, 817, 203 P.3d 1203, 1216 (2009) (an

individual who peacefully obstructs or refuses to obey an officer's unlawful

directive does not thereby violate statute proscribing resisting and obstructing a

public officer); State v. Gamma, 143 Idaho 751, 754, 152 P.3d 622, 625 (Ct. App.

2006) (where an individual refuses to obey order or obstructs act of public officer

that is contrary to the law, that individual does not violate statute proscribing

resisting and obstructing a public officer); State v. Wilkerson, 114 Idaho 174, 178,

755 P.2d 471, 475 (Ct. App. 1988) (a person cannot be convicted of a crime for

failing to obey police officer's command if that command itself violates the

Constitution).

      To allow this prosecution to go forward would dangerously chill expression

and dissent by the American people. Cf. Grayned v. City of Rockford, 408 U.S.

104, 109 (1972) (applications of vague statutes or prosecutions with uncertain

boundaries inevitably lead citizens to steer far wider of the unlawful zone than if



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the boundaries of the forbidden areas were clearly marked." (internal quotation

marks, footnote, and alterations omitted).


Every court prior to January 6 has recognized that the Capitol is the Peoples’
House, and a forum for political advocacy, petitioning, speech, assembly, and
expression.
      A long line of cases hold that people have a right to use the Capitol Grounds

as a free speech forum. See Jeannette Rankin Brigade v. Chief of Capitol Police,

342 F. Supp. 575 (D.D.C. 1972). In Jeannette Rankin Brigade a special 3-judge

panel of the DC District Court held that the Capitol Grounds are “an area to which

access cannot be denied broadly or absolutely.” 342 F. Supp. 575, 583-84 (D.D.C.

1972). The Supreme Court summarily affirmed, making Jeannette Rankin Brigade

binding precedent. 409 U.S. 972 (1972). Later, in Community for Creative Non-

Violence v. Kerrigan, the DC Circuit held that “there is no doubt that the Capitol

Grounds are a public forum.” 865 F.2d 382, 383, 387 (1989) (upholding “a

reasonable time, place or manner restriction,” a regulation limiting the length of

time during which demonstration “props and equipment” may remain on the

Grounds). Clearly, therefore, the “Grounds (excluding such places as the Senate

and House floors, committee rooms, etc.) have traditionally been open to the

public,” and “the primary purpose for which the Capitol was designed--

legislating"--is entirely consistent “with the existence of all parades, assemblages,

or processions which may take place on the grounds.” Jeannette Rankin Brigade,

342 F. Supp. at 584.
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           Indeed, in Jeannette Rankin Brigade, the district court observed that “the

fundamental function of a legislature in a democratic society assumes accessibility

to [public] opinion.” Id. See also, Lederman v. United States, 291 F.3d 36 (DC Cir.

2002) (striking down a regulation banning leafleting and other “demonstration

activities” on the sidewalk at the foot of the House and Senate steps on the East

Front of the Capitol). The Lederman Court found that sidewalks around the Capitol

are a public forum, and that a regulation banning leafleting and other

“demonstration activities” at the foot of the House and Senate steps on the east side

of the Capitol is unconstitutional.

           Note that courts have held that even the interior of the Capitol is an

appropriate forum for organized prayer sessions and organized walking through the

halls. 1


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  The First Amendment literally says “Congress shall make no law” restricting speech, advocacy, or
petitioning. The government’s only path around this problem is the notion that the mere presence of the
Vice President in the Capitol on Jan. 6 somehow allows for prosecutions of advocates, protestors or
petitioners hundreds of yards away, outside, separated by numerous thick marble walls.
         But the Supreme Court has never held that the First Amendment can be evaded simply by a
Secret Service proclamation that a protected government official lurks nearby. The government often
asserts on Judge Friedman's well-articulated opinion in Bynum v. U.S. Capitol Police Board, 93 F. Supp.
2d 50 (D.D.C. 2000), which the government says classified the interior of the Capitol as a nonpublic
forum. In fact, Bynum struck down a previous ban on picketing and parading in the Capitol as too broad.
See id. (holding groups of visitors have 1st amendment rights to hold nondisruptive prayer sessions in
Capitol hallways).
         Judge Friedman himself wrote that his conclusion to categorize the inside of the Capitol as a
‘nonpublic forum’ was “somewhat surprising.” Id. at 56 (“Which brings the Court to what may seem a
somewhat surprising conclusion that the inside of the United States Capitol is a nonpublic forum for First
Amendment forum analysis purposes”). And despite the Bynum Court’s pronouncement that the inside of
the Capitol is a nonpublic forum for protesting, the Court held that some, limited expression, prayer and
petitioning is nonetheless permitted inside the Capitol:

           The Court, however, cannot conclude that the regulation is reasonable in light of the
           purposes it could legitimately serve. While the regulation is justified by the need
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No law makes the Capitol a restricted area. No court case makes the Capitol
a restricted area. No published federal rule or regulation makes the Capitol a
restricted area.
        Significantly, no law of Congress makes the Capitol a restricted area. No

detailed court case ever published 2 makes the Capitol a restricted area. Indeed,

these sources of law resoundingly say the opposite. So how do prosecutors in

these cases contend the Capitol or its grounds were restricted areas on Jan. 6?

Trespass Law requires both proof of notice and proof of actual license to
restrict.


        expressed in the statute to prevent disruptive conduct in the Capitol, it sweeps too broadly
        by inviting the Capitol Police to restrict behavior that is in no way disruptive, such as
        "speechmaking . . . or other expressive conduct. . . ." Traffic Regulations for the Capitol
        Grounds § 158. Because the regulation's proscriptions are not limited to the legitimate
        purposes set forth in the statute, it is an unreasonable and therefore an unconstitutional
        restriction on speech. See Board of Airport Commissioners of the City of Los Angeles v.
        Jews for Jesus, Inc., 482 U.S. 569, 575 (1987) (general prohibition of First Amendment
        activity in airport cannot be justified even if airport is nonpublic forum "because no
        conceivable government interest would justify such an absolute prohibition of speech").
        For these reasons, and those discussed in Section II B of this Opinion, the regulation is
        both unreasonable and unconstitutionally overbroad.

Bynum, at 57.
         Judge Friedman also found that the “picketing and parading” ban violated due process because it
was vague: “While there certainly are types of expressive acts that rise to the level of a demonstration,
any regulation that allows a police officer the unfettered discretion to restrict behavior merely because it
‘conveys a message’ or because it has a ‘propensity to attract a crowd of onlookers’ cannot survive a due
process challenge.” Id.
                  The regulation as written allows a police officer to restrict any sort of expressive
         conduct when, in the eyes of the particular officer, it might attract onlookers -- without
         regard to whether it in fact attracts a crowd of onlookers or whether it in fact disrupts or
         obstructs. The determination of what conduct is prohibited by such a regulation therefore
         necessarily will vary depending on the subjective judgment of the particular officer
         regarding what conduct in his or her judgment has a "propensity to attract a crowd of
         onlookers." Such a regulation does not provide any standard at all. Rather, it "confers on
         the police a virtually unrestrained power to arrest and charge persons with a violation"
         and "the opportunity for abuse . . . is self-evident." [citations omitted].
         The virtually standardless, broad discretion given to the Capitol Police by this regulation
         also causes it to be unconstitutionally vague.
Bynum, at 58-59.
2
  Ironically the only courts that have ever pronounced the Capitol grounds to be a restricted area are some
trial courts in Jan. 6 cases. Most of these rulings are unpublished.
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      The federal “restricted area” statutes at issue here are analogous to

trespassing laws at the state levels. These are derived from ancient common law

going back in Anglo-American history for centuries. The basic principles of

criminal trespass are enunciated in the Model Penal Code. See, e.g., State v. Pixley,

200 A.3d 174 (Vt. 2018). In general, a conviction for trespassing requires two

distinct elements: first, the license element—that the person is entering the land

“without legal authority” or consent, and second, the notice element—that notice

against trespass is provided for the property in question. Id. Said differently,

conviction requires proof of both subjective notice (the defendant’s state of mind)

and the objective fact of restrictedness. In this case, each element is contested.

      It is not enough for “the State to show that defendant should have known he

was not licensed or privileged to enter the dwelling.” State v. Fanger, 665 A.2d 36,

38 (Vt. 1995) (quoting Model Penal Code § 221.2(1) (1962)). The government

must prove a defendant actually knew.

      The case law regarding the open-public-free-speech-forum area of the

Capitol cannot be overcome by mere decree of the Capitol Police, or the Secret

Service, or federal prosecutors. The U.S. Capitol is one of America’s largest

public buildings, with well over 1.5 million square feet, over 600 rooms, and miles




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of corridors.3 Previous case law in other federal jurisdictions has invalidated

government attempts to extend no-advocacy zones beyond a few feet.

       For example, the Supreme Court invalidated attempts to ban protesting

within 300 feet of an abortion clinic. Madsen v. Women's Health Ctr., 512 U.S.

753, 771 (1994) (finding thirty-six-foot buffer was acceptable). “[C]itizens must

tolerate insulting, and even outrageous, speech in order to provide adequate

breathing space to freedoms protected by the First Amendment.” Id. at 774.

The First Amendment as a Defense to trespass.

       In general, violence is not First-Amendment protected. But trespassing

sometimes is. For example, in People v. Millhollen, 5 Misc. 3d 810, 786 N.Y.S.2d

703, 194 Ed. Law Rep. 395 (N.Y. City Ct. 2004) a court held that a university

student who climbed a tree on a university campus, and remained there after being

ordered by a police officer and a university official to descend, was not guilty of

trespass, absent evidence that the student's presence in the tree was incompatible

with the university's normal activities).

       The government contends that there is no First Amendment protection for

the thousands of people present on Capitol Grounds on January 6. None. But

given the binding case law holding that the Capitol grounds is a public free-speech



3
 See Architect of the Capitol, “U.S. Capitol Building,” https://www.aoc.gov/explore-capitol-
campus/buildings-grounds/capitol-building (accessed 9/27/2022).
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forum, the government’s claims that the grounds were totally restricted on Jan. 6

must withstand strict scrutiny analysis. And the evidence in this case illustrates the

presence of flags, banners, megaphones, and group persuasive chants—all of

which are archetypes of protected petitioning and advocacy rather than assaultive

militancy.

      A policy, law, barrier, or forum restriction that regulates protected speech

must meet First Amendment muster, whether or not it also regulates conduct. See

ACLU of Ill. v. Alvarez, 679 F.3d 583, 602 (7th Cir. 2012) (“When the expressive

element of an expressive activity triggers the application of a general law, First

Amendment interests are in play.”); Bartnicki v. Vopper, 200 F.3d 109, 121 (3d

Cir. 1999) (rejecting the argument “that a statute that governs both pure speech and

conduct merits less First Amendment scrutiny than one that regulates speech

alone.”). The inquiry “is not whether trespassing is protected conduct,” but

whether the law contains other restrictions on conduct that also “qualif[y] as

protected speech.” Animal Legal Def. Fund v. Kelly, 9 F.4th 1219, 1228 (10th Cir.

2021) (quoting W. Watersheds Project v. Michael, 869 F.3d 1189, 1194–96 (10th

Cir. 2017) (W. Watersheds Project I)).

      This conclusion is consistent with Supreme Court precedent which has

emphasized that First Amendment analysis applies when speech is implicated by a

law even if the law “generally functions as a regulation of conduct.” Holder v.

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Humanitarian Law Project, 561 U.S. 1, 27–28 (2010) (emphasis in original). Thus,

the erection of barriers on Capitol grounds regulates protected speech and

accordingly implicates the First Amendment. Exempting the Jan. 6 demonstration

from any First Amendment review could result in the criminalization of core free

speech, such as criticism of a politician. See Animal Legal Def. Fund v. Herbert,

263 F. Supp. 3d 1193, 1209 (D. Utah 2017) (observing “[i]f a person's First

Amendment rights were extinguished the moment she stepped foot on [a given

property], the State could, for example, criminalize any criticism of the Governor,

or any discussion about the opposition party, or any talk of politics whatsoever, if

done on [a given] property.”).

      Some acts amount to speech protected by the First Amendment, and may not

be prosecuted as trespass, depending on the location of the protest. The Supreme

Court of the United States has held that since ‘time out of mind,’ public streets and

sidewalks have been used for public assembly and debate, the hallmarks of a

traditional public forum.” Frisby v. Schultz, 487 U.S. 474, 480 (1988). In this

regard, the right of free speech attaches to premises which have traditionally served

as a place for free public assembly by private citizens. People v. O'Grady, 147

Misc. 2d 118, 560 N.Y.S.2d 602 (App. Term 1990). And courts have previously

held that the Capitol grounds on all sides of the building are just such a free speech

forum. See Jeannette Rankin Brigade, supra. The government’s claim that all of


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the demonstrators on Capitol Grounds on Jan. 6 were “attackers” rather than

protestors conflicts with settled First Amendment law.

      A Court Holding that the Hundreds of Protestors on January 6 have no
First Amendment Protection will have a Chilling Effect on Fundamental First
Amendment Protections.
      Of all the First Amendment cases ever decided by the Supreme Court, the

case of Adderley v. State of Fla., 385 U.S. 39, 48 (1966) may provide the clearest

path for analysis. In Adderly, the Court upheld the trespassing arrest of 13 college

students who entered the grounds of the Leon County, Florida jail to protest prior

arrests and city segregation policies. The students blocked a driveway to the jail

entrance not normally used by the public and refused to disperse after being

ordered by sheriff. Significantly, the majority opinion authored by Justice Black

indicated that the same facts would lead to First Amendment protection from a

trespass conviction if the facility had been a capitol with a history of political

protest and speech advocacy.

      The dissenting opinion in Adderley v. State of Fla., authored by Justice

Douglas and joined by Brennan and Fortus, found that the student protestors’

trespassing arrests should be overturned on First Amendment grounds. 385 U.S.

39, 48 (1966) (Douglas, J., dissenting). “We do violence to the First Amendment

when we permit this ‘petition for redress of grievances' to be turned into a trespass

action,” wrote the dissenters. Id. at 52.


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       The parallels between the Adderly case and January 6 could not be more

compelling. In fact, there was evidence in the Adderly case that workers in the jail

were obstructed and afraid to leave the jail facility during the protest. And in some

ways, the disruption of the Leon County jail by the Adderly protestors was less

supported by the law than the protests of January 6. 4 Even so, three Supreme

Court justices pronounced that the student protestors’ conduct was First

Amendment protected. “In the first place the jailhouse grounds were not marked

with ‘NO TRESPASSING!’ signs,” wrote Douglas, id. at 52, and “[o]nly the

sheriff's fiat [ordering trespassers to disperse” transformed lawful conduct into an

unlawful trespass.” Id.

       Three members of the Supreme Court held in 1966 that protestors who

entered the grounds of a jail—which (unlike Capitol Grounds) had never been a

forum for free speech—blocked traffic, prevented a worker from leaving, and

defied orders from a sheriff to disperse were fully protected by the First

Amendment. And every member of the Supreme Court held that the First




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 “The fact that no one gave a formal speech, that no elaborate handbills were distributed, and that
the group was not laden with signs would seem to be immaterial” to the question of First
Amendment protection, wrote the dissent. Justice Douglas wrote that the First Amendment
protected the Adderly protestors nonetheless. Id. at 51.
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Amendment would have protected the protestors from a trespassing conviction

under the same facts if the facility had been a capitol rather than a jail.5

        Justice Douglas cited numerous Supreme Court cases standing for the

proposition that the ‘custodian’ of public property cannot arbitrarily decide “when

public places shall be used for the communication of ideas,” e.g., Hague v. C.I.O.

307 U.S. 496 (1939); Schneider v. State of New Jersey, 308 U.S. 147, 163—164;

Cantwell v. State of Connecticut, 310 U.S. 296; Largent v. State of Texas, 318

U.S. 418; Niemotko v. State of Maryland, 340 U.S. 268; Shuttlesworth v. City of

Birmingham, 382 U.S. 87. “For to place such discretion in any public official, be

he the ‘custodian’ of the public property or the local police commissioner (cf. Kunz

v. People of State of New York, 340 U.S. 290, 71 S.Ct. 312, 95 L.Ed. 280), is to

place those who assert their First Amendment rights at his mercy.” Id. at 54. “It




5
  The Court compared the jail protest with the protest upheld in Edwards v. South Carolina, 372 U.S., at
235, 83 S.Ct., at 683 (1963). In Edwards, the Supreme Court overturned convictions of protestors at a
state capitol who refused commands to disperse.
                 In Edwards, the demonstrators went to the South Carolina State Capital grounds
        to protest. In this case they went to the jail. Traditionally, state capitol grounds are open
        to the public. Jails, built for security purposes, are not. The demonstrators at the South
        Carolina Capital went in through a public driveway and as they entered they were told by
        state officials there that they had a right as citizens to go through the State House grounds
        as long as they were peaceful. Here the demonstrators entered the jail grounds through a
        driveway used only for jail purposes and without warning to or permission from the
        sheriff.
Adderly at 41.
         The dissent even gently mocked the majority’s proffered distinction between jail grounds and
legislative grounds. “Would the case be any different if, as is common, the demonstration took place
outside a building which housed both the jail and the legislative body? I think not.” Id. at 53 (Douglas, J.
dissenting).
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gives him the awesome power to decide whose ideas may be expressed and who

shall be denied a place to air their claims and petition their government.” Id.

                                  CONCLUSION
      For all the foregoing reasons, defendants move to dismiss this case.
Dated: September 1, 2023                                        Respectfully Submitted,

                                                                          /s/ John M. Pierce
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                                   CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, September 1, 2023, I caused a copy of the

foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.



                                                /s/ John M. Pierce
                                                John M. Pierce




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